










Opinion issued November 20, 2003















In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-03-00516-CV
____________

MICHAEL GRAY, Appellant

V.

MARK TAPPER, Appellee




On Appeal from the 164th District Court
Harris County, Texas
Trial Court Cause No. 2002-41470




O P I N I O N
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This is an appeal from a judgment signed April 17, 2003.  Appellant has
invoked the jurisdiction of this Court by filing a notice of appeal, but he has not paid
the appellate filing fee.  On June 26, 2003, this Court ordered that unless, within 15
days of the date of the order, appellant paid the appellate filing fee, his appeal would
be dismissed.  The 15 days have expired and appellant has not paid the appellate
filing fee.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we dismiss the appeal.
PER CURIAM
Panel consists of Justices Hedges, Nuchia, and Higley.




